Case No. 1:24-cv-01215-MDB Document 1 filed 05/01/24 USDC Colorado pg 1 of 29




                   IN THE UNITED STATES DISTRICT COUB,J!EOSTATESOfQTRI
                                                                            FILED
                      FOR THE DISTRICT OF COLORADO        DENVER, coi.oRXJ8°URT

                                                                           MAY -1 2024
  Civil Action No.
                     - - - - - - - - - - - - - - - - - - d FFREY P. COLWELL
                                                                                        CLERK
  MICHAEL S. FREEMAN II,

  Plaintiff,

  V.

  ELIZABETH EPPS, in her individual capacity;
  REP. ELIZABETH EPPS, in her official capacity as a state Representative
  of the Colorado General Assembly; and
  PHILIP J. WEISER, in his individual capacity

  Defendants.


                     COMPLAINT AND JURY TRIAL DEMAND


       Michael Scott Freeman II (herein referred to as "Plaintiff'' or "Mr. Freeman")

  by and through undersigned litigation, hereby submits this Complaint and Jury

  Demand against the above-named Defendants, alleges as follows:

                                NATURE OF THE ACTION

       This is an action alleging violations of the First Amendment enforceable on the

  states through the Equal Protection Clause of the Fourteenth Amendment of the

  U.S. Constitution requesting injunctive and monetary relief from Defendants

  Elizabeth Epps and Philip J. Weiser in their individual capacities. This Complaint

  also requests Quo Warranto relief in the form of the disqualification of Rep.

  Elisabeth Epps from holding public office due to her failure to maintain the

  necessary qualifications.




                                            -1-
Case No. 1:24-cv-01215-MDB Document 1 filed 05/01/24 USDC Colorado pg 2 of 29




                                    PRO SE PLEADING

      Because the Plaintiff represents himself in this matter, the court must afford his

  filings a liberal construction. See Haines v. Kerner, 404 U.S. 519, 520-21 (1972).

  Liberal construction "means that if the court can reasonably read the pleadings to

  state a valid claim on which the plaintiff could prevail, it should do so despite the

  plaintiff's failure to cite proper legal authority, his confusion of various legal theories,

  his poor syntax and sentence construction, or his unfamiliarity with pleading

  requirements." Hall v. Bellmon, 935 F.2d 1106, 1110 (10th Cir. 1991). [ ... ] The court

  plays a neutral role in the litigation process and cannot assume the role of an

  advocate for the prose party. Adler v. Wal-Mart Stores, Inc., 144 F.3d 664, 672

  (10th Cir. 1998)."

       In Picking v. Pennsylvania Railway, (151 F2d. 240) (3rd Cir.), the plaintiffs civil

  rights pleading was 150 pages and described by a federal judge as 'inept'[ ... ]

  Nonetheless, it was held that "where a plaintiff pleads pro se in a suit for the

  protection of civil rights the court should endeavor to construe the plaintiff's

  pleading without regard for technicalities."

       Plaintiff humbly requests that this Court keep in mind that "Pleadings are

  intended to serve as a means of arriving at fair and just settlements of

  controversies between litigants. They should not raise barriers which prevent the

  achievement of that end.[ ... ] Proper pleading is important, but its importance

  consists in its effectiveness as a means to accomplish the end of a just judgment."

  Maty v. Grasse/Ii Chemical Co., 303 U.S. 197 (1938)




                                              -2-
Case No. 1:24-cv-01215-MDB Document 1 filed 05/01/24 USDC Colorado pg 3 of 29




                              JURISDICTION AND VENUE

      This action arises out of a failure in the above-named Defendants to comply

  with established requirements of the First Amendment enforceable upon the states

  through the Equal Protection Clause of the Fourteenth Amendment of the U.S.

  Constitution resulting in the deprivation of the Plaintiff's First Amendment rights.

  Thus, jurisdiction exists under 28 U.S.C. §§ 1331, 1343(a)(3) and (a)(4), and 42

  U.S.C. § 1983.

      This action concurrently requests a Writ of Quo Warranto barring Rep. Epps

  from holding public office. Thus, jurisdiction for this action also exists under 28 U.S.

  Code§ 1651 through 28 U.S.C. § 1343 to enforce§ 3 of the Fourteenth

  Amendment.

      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 (federal

   question jurisdiction) because this action arises under the United States

   Constitution. The "collateral order" doctrine of Cohen v. Beneficial Industrial Loan

   Corp., 337 U.S. 541 (1949) as raising a "serious and unsettled question" of law

   also applies.

      All parties are residents of Colorado.

       Pursuant to 5 U.S.C. § 703 and 28 U.S.C. § 1391(b)(2), the proper venue for

  this action is the U.S. District Court for the District of Colorado - Denver Division

  because the actions and non-actions alleged against the Defendants occurred in

  and around the Denver metropolitan area.

      All procedural prerequisites for filing this lawsuit have been met. Plaintiff

  notified the Defendants of the intent to file this action on multiple occasions-to

  include informing Rep. Epps of his intention to pursue her disqualification from


                                            -3-
Case No. 1:24-cv-01215-MDB Document 1 filed 05/01/24 USDC Colorado pg 4 of 29




  holding public office.

                  INDIVIDUAL VS. OFFICIAL CAPACITY DISTINCTION

        Sovereign Immunity does not prevent Plaintiff from suing government officials

  in their individual capacity when they violate the Constitution--This is because they

  are not acting on behalf of the state in this situation. Ex parte Young, 209 U.S. 123

  (1908). The government has no '"discretion' to violate the Federal Constitution; its

  dictates are absolute and imperative." Owen v. City of Independence, 445 U.S.

  622 (1980).

        The above-mentioned case law citations are the reason the Defendants are

  being sued in their individual capacities. Representative Epps (official capacity) is

  also named in this suit due to statements made in her individual capacity,

   rendering her ineligible for public office. Because of these crucial distinctions, the

   naming conventions within this Complaint must specify each Defendant

   accordingly.

    •    "Elizabeth Epps" or "Mrs. Epps" will be used to denote her in her individual

         capacity.

    •    "Rep. Epps" or "Rep. Elisabeth Epps" will be used to denote her in her official

         capacity as a state Representative for the state of Colorado.

    •    "Philip Weiser" or "Mr. Weiser" will be used to denote him in his individual

         capacity.

    •    The Attorney General for the State of Colorado (in his official capacity) is not

         named in this suit.

        Any attempt to involve state resources in this suit for any matter extending

   outside Rep. Epps' qualification for office should be construed as a waiver of

                                            -4-
Case No. 1:24-cv-01215-MDB Document 1 filed 05/01/24 USDC Colorado pg 5 of 29




  sovereign immunity for the state of Colorado and the state should be enjoined.

  Should such an event occur, Plaintiff should be granted leave to file a new

  complaint to incorporate the state and Attorney General Weiser accordingly.

                                   GENERAL ALLEGATIONS

      1. On or about April 12th , 2024, Rep. Epps made the following post from an

  account (@elisabethepps) on X (formerly known as Twitter):

                                    elisabeth epps @elisabethepps • 2d
                                  , ,tif you support banning assault weapons,
                          •         please pause before berating any Dem who
                                    doesn't vote Yes on 1292.

                                   Some No votes are from honest upfront Dems
                                   with integrity.

                                   vs Some Yes voters sabotage my work,
                                   scheming with Rs to kill D bills.

                                    be aware. A vote is Just 1data point.
                                    Q 44     t.l 4       0 52      11,1 1.2K   Q   .!,



      2. On or about April 12th , 2024, Plaintiff responded from his X account

  (@TheAntiGrifter) by stating, "Some Dems respect the Constitution and some

  Dems don't."

      3. On or about April 13th , 2024, Mrs. Epps replied to Plaintiff's response by

  stating,

                 "I didn't make a non-negotiable death pact with a

             piece of parchment written by men who owned humans.

                 some of us read, think, analyze for ourselves. others

             prefer unflinching fealty to document premised on my

             people being property.[11

                 c'est la vie."

      A screenshot of this exchange is provided here:

                                                      -5-
Case No. 1:24-cv-01215-MDB Document 1 filed 05/01/24 USDC Colorado pg 6 of 29




                                     .:fl. elisabeth -.iPS @elisabethepps •4112/24
                                     'If, ,lit you support banning assault weapons,
                                             please pause before berating any Dem who
                                             doesn't vote Yes on 1292.

                                             Some No votes are from honest upfront Oems
                                             with integrity.

                                             'IS Same Yes voters sabotage my W<lfk.
                                             sdleming with Rs to kill D biRs.

                                             be aware. A vote is just 1 data point
                                             0115     t.14        Os2        ,L1 ,.Ji'\   Q   .!.

                                             Michael~ @lheAntiGrL • 4/12/24
                                             Some Dems respect the Constitutioo and




                                                                                    ..
                                     •
                                             some Dems doo't.
                                             04         t.1         0!>6        J.1 u,:   Q .!.


                                     "'*· elisabeth
                                     'If,           -.iPS
                                          @el.isabethepps

                                     I didn"t make a non-negotiable death pact with
                                     a piece of parchment written by men who
                                     owned humans.

                                     some of us read. think, analyze fur ourselves.
                                     others prefer unflinching fealty to document
                                     premised on rny people being property.

                                     c'est la vie.




      4. The exchange between Plaintiff and Mrs. Epps continued and Mr. Freeman

           responded with the following;

                    "Elisabeth, the Constitution is supposed to prevent you

                    from abusing the rights of Americans. Whether or not

                    the founding fathers fit today's definition of moral is

                    irrelevant.

                    However, I do appreciate your candidness in admitting

                    your lack of honesty in taking that oath."

  1)        Its fairly evident that Mrs. Epps either never read the U.S. Constitution or her interpretation of it is
  severely distorted. The original constitution took a very neutral stance on slavery and like most things
  delegated that issue down to the states. While a greater conversation should be had as to the disagreement
  with the practice of slavery that many of the founding fathers had, the nature of compromise (to include the
  3/5ths Compromise), and the social environment that existed when the original Constitution was written, the
  notion that the entire Constitution was premised on slavery is preposterous. Moreover, the Constitution has
  since been amended via the Thirteenth Amendment to free the slaves-to ignore this means a person must be
  viewing the Constitution as only existing in its original form, further cementing Mrs. Epps' ignorance of this
  matter.

                                                               -6-
Case No. 1:24-cv-01215-MDB Document 1 filed 05/01/24 USDC Colorado pg 7 of 29




      5. Mrs. Epps then responded by stating the following:

      "'Michael'l21, Enjoy pontificating into the void and/ or trolling elsewhere. The rest

  of us will keep engaging in good faith while you make random lie-filled

  pronouncements about morality I didn't mention and about oaths you didn't

  watch.£31 Take good care."

      Here is a screenshot of that exchange:


                                                                         ...... I!!!![),




                                         Michael Freeman @TheAntiGrilfter • 34m
                                         Erisabeth, the Constitution is supposed to
                               •         prevent you from abusing the rights of
                                         Americans. Whether or not the founding
                                         fathers fit today's definition of moral is
                                         irrelevant.

                                         Howevet". l do appreciate your candidness in
                                         admitting your lack of honesty in taking that
                                         oath.
                                         o,          U         O       ~-        Q ~

                                   You're unable to view this Post because this
                                   atet1Unt owner limits who can view their Posts.




                                                                           -
                                   Learn more


                                          elisabeth epps
                               •        • @elisabethepps


                               "Michael", Enjoy pontificating into the void and/
                               or trolling elsewhere. The rest of us will keep
                               engaging in good faith while you make random
                               lie-filled pronouncements about. morality I didn't
                               mention and about. oaths you didn't watch.
                               Take good care.

                               2:49 AM • 4/13/24

                                    0


                                                 Q         0
                                                                       •              B




       6. Mr. Freeman was going to respond to Mrs. Epps' reply however she had

   blocked him before he was able to do so.

                                                         -7-
Case No. 1:24-cv-01215-MDB Document 1 filed 05/01/24 USDC Colorado pg 8 of 29




       7. Mr. Freeman promptly emailed Rep. Epps at

   (elisabeth.epps.house@coleg.gov) asking for her to unblock him on X in

   compliance with the First Amendment. A few hours after sending that email, the

   Plaintiff received a response from an email address using the domain name of

   Mrs. Epps' campaign website (ehe@elisabethepps.com)4 wherein she stated the

  following:

                   "Good morning.

                   For the time being, Rep. Epps' primary public +

                    legislator account on the site formerly known as

                     Twitter is @RepEpps. Her primary personal +

                    campaign account is @ElisabethEpps.



                   We will review your request within 30 days and seek to

                    determine if you were blocked, and if you were

                    blocked in error, in which case we would address that

                    accordingly. If not, we will attempt to communicate

                    that as well.




  2)        This seems to be Mrs. Epps alluding to the idea that Plaintiff is not who he presents as online, which
  couldn't be further from the truth.
  3)        This statement hints at the notion that Mrs. Epps never took the oath to support the U.S. Constitution
  as required by state law. Discovery should be allowed to determine if and when Mrs. Epps took her oath to
  support the U.S. Constitution in compliance with Article V, Sec. 2, Para. 2 of the Colorado Constitution.
  4)         Mrs. Epps' initials are E.H.E which coincidentally matches the email address responding to Mr.
  Freeman's email to Rep. Epps. According to www.coloradocapitolwatch.net, this account appears to belong
  directly to Mrs. Epps, therefore it is likely that it was Mrs. Epps that wrote this email and the "we"f'her"/third
  person manner in which the email is written may be some attempt at a strange legal maneuver. Discovery
  should be allowed to determine who wrote and sent this email.




                                                        -8-
Case No. 1:24-cv-01215-MDB Document 1 filed 05/01/24 USDC Colorado pg 9 of 29




                As for your admonition re: "do not think ... ", indeed, we

                 do not think anything either way about your potential

                 litigation, and wish you good luck with that endeavor.

                 We appreciate the process of accessing the court

                 system to redress issues of concern as being

                 paramount, and we will follow any appropriate court

                 orders directed to Rep. Epps."

       8. In the Colorado House of Representatives legislative debate that occurred

  on April 14th , 2024, at least two of Rep. Epps' colleagues referenced Mrs. Epps'

  "piece of parchment" comment referencing the U.S. Constitution in their arguments

  against HB24-1292. Within her own arguments in favor of the bill, Rep. Epps'

  responded to them and admitted that she made the post in question. 5

       9. On or about April 15th , 2024, Mr. Freeman responded to the above-email

  informing her that 30 days is an unreasonable amount of time to make these

  determinations and informing her about the Supreme Court case Lindke V. Freed

   and its application to state elected officials blocking social media critics. No

   response was received.

      10. On or about April 17th , 2024, Mr. Freeman wrote an email to the Speaker of

   the House for the General Assembly, Julie McCluskie with Rep. Epps copied on

   that email requesting assistance with getting unblocked and informing her about

   the application of Lindke V. Freed to state elected officials. No response was

   received.

      11. On or about April 19th , 2024, Mr. Freeman wrote an email to Colorado's

   Attorney General requesting assistance with getting unblocked and pointing out


                                            -9-
Case No. 1:24-cv-01215-MDB Document 1 filed 05/01/24 USDC Colorado pg 10 of 29




   that the Colorado Attorney General's website declares that the Attorney General is

   the "People's Lawyer". Mr. Freeman also informed the Colorado Attorney General

   of the Lindke V. Freed case and its applicability to these circumstances and of his

   intent to include the state of Colorado in the litigation against Rep. Epps. Mrs.

   Epps and Julie McCluskie were copied on that email. No response was received.

       12. On or about April 22 nd , 2024, Mr. Freeman sent another email to Mr. Weiser

   and Rep. Epps notifying them that he studied some of the applicable case law over

   the weekend and was not going to include the state of Colorado in this litigation,

   but instead Philip Weiser in his individual capacity and reasserting his intention to

   sue them over this matter. No response was received from any recipient of that

   email.

                                       DISCUSSION

       A. Courts' Reliance on Executive Branch to Enforce Decisions.

       13. Court decisions are not self-enforcing. "The judicial branch decides the

   constitutionality of federal laws and resolves other disputes about federal Jaws.

   However, judges depend on our government's executive branch to enforce court

   decisions. ,,e

       14. The Colorado Attorney General's office is part of the executive branch and

   has an inherent responsibility to assist in enforcement of judicial decisions. In

   addition to the Colorado AG considering himself to be the "People's Lawyer"7 , the

   Colorado Department of Law purports to be focused on "Upholding the United

   States and Colorado Constitutions."

       15. Mr. Weiser has opted not to facilitate that responsibility in defiance of the

   Colorado Attorney General's dictate and his oath to support the U.S. Constitution


                                            - 10 -
Case No. 1:24-cv-01215-MDB Document 1 filed 05/01/24 USDC Colorado pg 11 of 29




   which resulted in this litigation that could have easily been avoided with even the

   most paltry amount of assistance from the Colorado Attorney General.

      B. Injunction

       16. A preliminary Injunction is warranted when a Plaintiff shows the following

   elements:

      •    They were likely to prevail on the merits.

      •    They would suffer irreparable harm without an injunction.

      •    The harm they would suffer without an injunction outweighs the harm that

           the preliminary injunction may cause the opposing party.

      •    The injunction would not adversely affect the public interest.

           Winter v. Natural Resources Defense Council, 555 U.S. 7 (2008) ((10th Cir.

   Oct. 27, 2016)) Resolution Trust Corp. v. Cruce, 972 F.2d 1195, 1198 (10th

   Cir.1992).

       17. Merits- In Lindke V. Freed, The Supreme Court made the unanimous

   decision pertaining to public officials blocking social media critics online that to

   prevail a litigant must show that the official (1) had actual authority to speak on

   behalf of the State on a particular matter, and (2) purported to exercise that

   authority in the relevant posts. Plaintiff will address these elements respectively.




   5)        "Colorado House 2024 Legislative Day 096", https;//www,youtube.com/watch?v=u RbdEtyOWE (Rep.
   Epps' called to the speaking podium to begin her arguments ~5:33:00)
   6)        https:/lwww.uscourts.gov/about-federal-courts/court-role-and-structure
   7)        https://coag.govf#.:~:text=Colorado%20Attomey%20General%20Phil%20Weiser,and%20promoting%
   20justice%20for%20all


                                                   - 11 -
Case No. 1:24-cv-01215-MDB Document 1 filed 05/01/24 USDC Colorado pg 12 of 29




      18. To refresh the Court's memory, the original post that Mr. Freeman

   responded to:

                                  elisabeth epps @elisabethepps • 2d
                                 , ;!lit you support banning assault weapons,
                                  please pause before berating any Dem who
                                  doesn't vote Yes on 1292.

                                  Some No votes are from honest upfront Dems
                                  with integrity.

                                  \IS Some Yes voters sabotage my work,
                                  scheming with Rs to kill D bills.

                                  be aware. A vote is Just 1 data point.
                                   0 «      t."l 4      0 52      11,1 7.21<   Q   .!.

      (1) AUTHORITY - As a state representative, Rep. Epps undoubtedly

             possesses the authority to speak on behalf of the state in regard to a bill

             being voted on in Colorado's House of Representatives. Moreover, Rep.

             Epps is one of the Prime Sponsors of HB24-1292.

      (2) EXERCISE OF AUTHORITY - Rep. Epps states that some of the "yes"

             votes from House Democrats sabotage her work ("Some Yes voters

             sabotage my work".) By using the possessive word "my" she must be

             referencing her bill as a Representative because her personal/campaign

             work cannot be "sabotage[d]" from votes on the House floor. As a prime

             sponsor of HB24-1292, this is the only interpretation that makes sense.


      19. The remainder of the conversation leading to Mr. Freeman being blocked

   by Mrs. Epps pertains to the U.S. Constitution and her oath of office, which

   undoubtedly pertains to Rep. Epps' official capacity.

      20. For these reasons, the Plaintiff has a high likelihood of victory on the

   merits.

      21. IRREPARABLE HARM - This case pertains to the First Amendment and

                                                     - 12 -
Case No. 1:24-cv-01215-MDB Document 1 filed 05/01/24 USDC Colorado pg 13 of 29




   "The loss of First Amendment freedoms, for even minimal periods of time,

   unquestionably constitutes irreparable injury." Elrod v. Burns, 427 U.S. 347 (1976)

   referencing New York Times Co. v. United States, 403 U.S. 713 (1971).

      22. HARM WITHOUT INJUNCTION - The @elisabethepps account that Mr.

   Freeman is blocked from commenting on frequently posts about official state

   government matters and this block is preventing Mr. Freeman from using his First

   Amendment rights to remain a part of the discussion that occurs under those

   posts. It will take less than two minutes for Mrs. Epps to unblock Mr. Freeman and

   thus causes her no harm. All she needs to do is click "Settings and Support", then

   "Settings and Privacy", then "Privacy and safety", then "Mute and block", then

   "blocked accounts", and lastly find Mr. Freeman's account (@TheAntiGrifter) and

   click the "Blocked" button next to his name to unblock him.

      23. IMPACT TO PUBLIC INTEREST - Mr. Freeman is politically independent

   and a staunch advocate for constitutional rights and rational legislation. Legislators

   that act with little to no regard to the constitutional rights of their constituents are

   the greatest threat to the Americans' livelihoods-far exceeding the threat from a

   terror cell or adversarial nation at our current state.

      24. Legislators hate hearing that the laws they are trying to pass are

   unconstitutional and/or illogical, so they crave an echo chamber (or 'safe space')

   where they can spew propaganda and tout absurd bills without facing criticism

   from the public. It's very simple; We have a First Amendment right for a reason, so

   if legislators don't like criticism from the public, then they should stop publishing

   their legislative efforts on social media, ignore the critics, stop pushing bad laws, or

   leave the profession altogether. Quite frankly, because of her disregard to the


                                              - 13 -
Case No. 1:24-cv-01215-MDB Document 1 filed 05/01/24 USDC Colorado pg 14 of 29




   Constitution she swore to uphold, Rep. Epps should take the fourth option.

      25. Rational people don't like bad legislation and we have every right to voice

   our dissent in any manner protected under the First Amendment of the U.S.

   Constitution. In addition to violating the Free Speech provision of the First

   Amendment, social media critics are arguably engaging in a form of digital protest

   that should also be protected by the First Amendment peaceful assembly grounds

   as well.

      26. For these reasons, the public interest is only benefited by Mr. Freeman's

   responses to Mrs. Epps.

      C. Quo Warranto

      27. "A writ of quo warranto is a common law remedy which is used to

   challenge a person's right to hold a public or corporate office[ ... ] When bringing a

   petition for writ of quo warranto, individual members of the public have standing as

   citizens and taxpayers."8 28 U.S.C 1343 (a)(4) 9 and 42 U.S.C. § 1983 supplement

   this status. Standing is also maintained through Article II, Section 1 and Article 11,

   Section 24 of the Colorado Constitution. 10, 11

      28. Article V, Sec. 2, Para. 2 of the Colorado Constitution requires members of

   the Colorado General Assembly to take an Oath prior to entering office.

      29. Plaintiff again provides a screenshot of Mrs. Epps' Twitter post to the Court

   for convenience:




                                            - 14 -
Case No. 1:24-cv-01215-MDB Document 1 filed 05/01/24 USDC Colorado pg 15 of 29




                                   "*··
                                   •
                                        elisabd\ epps
                                        @ellsabethepps
                                                                         ••
                                   "Michael", Enjoy pontificating into the void and/
                                   or trolling elsewhere. The rest of us will keep
                                   engaging in good faith while you make random
                                   Die-filled pronouncements about morality I didn't
                                   mention and about oaths you didn't watch.
                                   Take good care.

                                   2:49 AfJl • 4/13/24

       30. As pointed out in a footnote earlier, the "oaths you didn't watch" clause of

   her post hints at the idea that she never took the oath. As part of discovery, Rep

   Epps should be made to provide proof that she took an oath in accordance with

   the Colorado Constitution prior to entering office. If she never took the oath, then

   she is not qualified to hold public office in any capacity that requires allegiance to

   the U.S. Constitution.

       31./f she did take an oath, then the sincerity of that oath must be called into

   question based on her own words. Furthermore, if she did take an oath, then § 3 of

   the Fourteenth Amendment is also relevant.

                                        elisabelh epps
                                        @elisabethepps
                                                                            •iii&
                                I didn't make a non-negotiable death pact with
                                a piece of parchment written by men who
                                owned humans.

                                some of us read, think. analyze for ourselves.
                                others prefer unflinching fealty to document
                                premised on my people being property.

                                c•est la vie.

                                2:16 AM • 4/13/24 From Earth • 4.8K Views

   8)        https://www.law.cornell.edu/wex/quo warranto
   9)        28 U.S.C 1343 (a)(4) - "... to secure equitable or other relief under any Act of Congress providing
   for the protection of civil rights," [Bold for emphasis).
   1O)       "Vestment of political power. All political power is vested in and derived from the people; all
   government, of right, originates from the people, is founded upon their will only, and is instituted solely for the
   good of the whole." https://law.justia.com/constitution/colorado/cnart2.html
   11)       "Right to assemble and petition. The people have the right peaceably to assemble for the common
                                                         - 15 -
Case No. 1:24-cv-01215-MDB Document 1 filed 05/01/24 USDC Colorado pg 16 of 29




   good, and to apply to those invested with the powers of government for redress of grievances, by petition or
   remonstrance." https://law.justia.com/constitution/colorado/cnart2.html



   In this post she diminishes both the oath of office and the Constitution. Merriam-

   Webster's defines the word "rebellion" as "opposition to one in authority or

   dominance." The U.S. Constitution is the "Supreme Law of the United States". Her

   statement here is a clear opposition to that authority, and accordingly, she should

   be barred from holding any public office requiring an allegiance to the same in

   accordance with the Fourteenth Amendment.

       32. As stated in Mr. Freeman's response to her post; the morals of the

   founding fathers are irrelevant to her alleged oath to uphold the U.S. Constitution.

   In her post she fails to understand that the Constitution establishes the legislature

   and imparts rights to Americans that the legislature is supposed to adhere to.

   Referring to it as a "piece of parchment" in the manner she did is an incredibly

   degrading statement to make about a document she allegedly swore to uphold.

   This statement makes sense when reading the next sentence wherein she

   declares that "others prefer unflinching fealty" to it-Please note that she considers

   herself to be in the group that "read[s], think[s], analyze[s]" for herself by using the

   word "us", but "others" (not including her) prefer the unflinching fealty.

       33. In the aforementioned House debate in favor of HB24-1292 that occurred

   on April 145 , she does not deny making this statement, but places emphasis on the

   fact that her alleged oath wasn't a "death pact". This argument does not assist her,

   because her statement still stands as a clear diminishment (i.e. 'opposition',

   'rebellion', etc.) of the alleged oath that she made to support the Constitution.

       34. Mrs. Epps' personal opinions as to the U.S. Constitution resulted in the

   deprivation of Mr. Freeman's First Amendment rights, as a government official with
                                                       - 16 -
Case No. 1:24-cv-01215-MDB Document 1 filed 05/01/24 USDC Colorado pg 17 of 29




   no respect for the Constitution would, consequently, not respect the rights it

   bestows upon the public.

      35. For these reasons, she has violated her alleged oath. If she has not taken

   an oath, then she should not be holding her seat.

      D. Damages

      36. Plaintiff seeks a Jury Trial to determine the following damages:

      (1) Economic Damages

          (a) Reimbursement of all Court Filing Fees (to include any appeals)

          (b) Reimbursement for USPS Priority Mail Flat Rate Shipping $9.85 to mail

             the Complaint to the Court.

          (c) Reimbursement for inevitable USPS Priority Mail Flat Rate shipping

             ($9.85) with Certified Mail ($4.40) and Electronic Return Receipt ($2.32)

             to mail the summons and Complaint both Defendants.

          (d) Any future mailing costs that prove necessary to achieve justice in this

             case.

      (2) Compensatory Damages

          (a) Plain and Suffering in the amount of $14.42 (Colorado's minimum wage)

             per hour of labor it takes to fight this case. Producing this Complaint took

             approximately 25 hours resulting in a cost of $360.50 as of the filing of

             this Complaint.

          (b) Pain and Suffering for an additional amount for mental stress to be

             determined by the Jury.

      (3) Punitive Damages

          (a) This Complaint would not be necessary had Mrs. Epps' taken two


                                           - 17 -
Case No. 1:24-cv-01215-MDB Document 1 filed 05/01/24 USDC Colorado pg 18 of 29




               minutes to unblock Mr. Freeman from her X account. Instead she opted

               to violate Mr. Freeman's First Amendment rights in a flagrant violation of

               the law, consuming Mr. Freeman's and the Court's time. Mr. Weiser's

               negligence to intervene prior to the filing of this suit should also be

               assessed and Punitive Damages should be assessed accordingly.

       E. Considerations for Higher Courts

      **District Court Judges and Defendants please skip to page 24 of this

   filing.**

       Plaintiff understands that there is a high degree of chance that this case will

   need to be heard by the U.S. Supreme Court for a complete resolution. For this

   reason, the Plaintiff wishes to include this candid statement directly to those higher

   courts:

       Mr. Freeman does possess the intelligence, aptitude, and receptive skills to

   become an attorney-and has previously sought to become one-however, what

   he doesn't have is the temperament to deal with the bureaucratic chaos,

   disorganization, prevalent psychopathy 11 , and abuse of authority that is rampant

   within our nation's court system. We don't have a justice system in the United

   States of America, we have a court system that occasionally provides justice. Mr.

   Freeman used to be one of those people that thought that the legal system had a

   few flaws, but overall consisted of judges trying their best to review arguments and

   come to an objective ruling, but as he's gotten older and fought cases in various

   courts he's grown to realize that a lot of rulings have nothing to do with the law, the

   arguments before them, or a genuine desire to provide justice.

       Most people do not realize how bad the system is until see it for themselves,


                                             - 18 -
Case No. 1:24-cv-01215-MDB Document 1 filed 05/01/24 USDC Colorado pg 19 of 29




   and that's when it finally clicks that some judges don't give a rat's ass about being

   objective, neutral, or even reasonable. While Mr. Freeman has never experienced

   this firsthand in the criminal court system, he has experienced it in the civil court

   system where it's obvious that the judges didn't even read his filings prior to

   making their ruling despite an explicitly stated request from Mr. Freeman to read

   his filings prior to making their ruling. Plaintiff has also monitored various criminal

   cases across the country and quickly noticed the trend that most judges are biased

   in favor of the government and see government attorneys as advisors instead of

   lawyers arguing one side of a case. The primary takeaway here is that there exists

   a great number of incompetent, willing-to-feign incompetence, or severely biased

   judges sitting on the bench that have no desire to be objective. A large part of the

   reason our nation's court system is so bad is because higher courts turn a blind

   eye to the obvious disfunction in the lower courts. Of course, such a deeply flawed

   system that allows such trashy judges to continue screwing people over should be

   deemed in-and-of-itself unconstitutional, but the courts will never rectify or even

   recognize their own failings, so they allow these scumbags to sit on the bench

   screwing people over time and time again. This is all to say that Plaintiff

   anticipates an incompetent or severely biased magistrate and district court judge

   being assigned to this case, making an appeal necessary to get a competent or

   even slightly objective ruling.

      USCourts.gov cites U.S. v. Alvarez (2012) and espouses the idea that "The

   U.S. Constitution establishes three separate but equal branches of government" 12

   This assertion is very noble, however it is inaccurate. From the conception of this

   country, the judicial branch was the weaker branch of government and continues


                                             - 19 -
Case No. 1:24-cv-01215-MDB Document 1 filed 05/01/24 USDC Colorado pg 20 of 29




   to be to this day. The concept of "Judicial Review" (Courts' ability to block laws in

   violation of the Constitution) was not established by the Constitution itself, but

   instead in 1803. 13 While Marbury v. Madison (1803) was a pivotal case and a show

   of power of the Courts, the courts have since largely devolved into the 'whipping

   boy' of the legislative and executive branches in recent years. This happens

   because the courts are the only branch of government that does not leverage its

   powers to achieve objectives.

      The disrespect that the other two branches of government display for the courts

   is visibly apparent in this case as well as publicly observable examples:

      1) Less than a year after taking office President Biden started a commission to

          investigate "reform" for the Supreme Court. To translate: "I'm not getting

          my way in the courts, so I'm going to investigate methods for changing the

          composition of the courts to be more amenable to my agenda."

      2) The second that the legislative branch doesn't get their way, they begin

          attacking the courts as well. Recently, the Judicial Ethics Enforcement Act

          bill was introduced that would call for an inspector general's office to be

          established across the judicial branch. Is there a single person stupid

          enough to think that this will not be utilized to exert pressure on the courts

          to go along with political agendas? Doubtful. This proposed law is an

          obliteration of the Separations of Powers Doctrine.

      3) You're a plumb fool if you think they aren't using executive/legislative

          privileged communications to influence mainstream media coverage of the

          Supreme Court.

      4) The executive branch floods your courts with frivolous nonsense, retaliatory


                                            - 20 -
Case No. 1:24-cv-01215-MDB Document 1 filed 05/01/24 USDC Colorado pg 21 of 29




           garbage, and farcical filth against political dissidents to push political

           agendas.

       5) They pass laws and change rules with little regard to their constitutionality,

           clogging up the courts with more litigation that could have been avoided.

      6) They don't assist with enforcing court decisions upon request to avoid

           needless litigation (such as in this case).

       7) Did the Supreme Court ever find the Roe v. Wade leaker? Plaintiff would

           bet $1000.00 that one of the other branches of government had some

           involvement in orchestrating that leak.

       The courts never return this abuse with sanctions or retaliatory language of

   their own-while this might be professional and such behavior may be

   unbecoming of the court system, it supports the conclusion that the other two

   branches of government are clearly dominant over the courts. But to make matters

   worse, in exchange for this abuse, higher courts often reward the other two

   branches with hyper-deference to attempt to avoid further injury against

   themselves. Further proving that the courts are not currently possess equal stature

   to the other two branches.




   11) https://www.legalcheek.com/2017/05/law-students-are-more-likely-to-be-psychopaths-than-their-
   psychology-studying-peers-but-economics-and-business-students-are-the-darkest/

   12) https://www.uscourts.gov/educational-resources/educational-activities/separation-powers-action-us-v-
   alvarez

   13) https://www.uscourts.gov/about-federal-courts/educational-resources/about-educational-outreach/activity-
   resources/about#:~:text=Theo/o20best%2Dknown%20power%20of, v. %20Madison%20(1803}.

                                                      - 21 -
Case No. 1:24-cv-01215-MDB Document 1 filed 05/01/24 USDC Colorado pg 22 of 29




      Lindke v. Freed is a prime example of this. At first glance, it is a clear victory for

   Freedom of Speech, but upon further inspection it is really a milquetoast ruling that

   gives undue deference to public officials and shoots the judicial branch in the foot.

   To save yourselves and the public, Lindke should have established a far clearer

   precedent: "You start discussing your government work on your personal social

   media accounts and it will be subject to First Amendment applicability." Instead of

   doing this, you opted for a labor-intensive fact-finding inquiry for yourself and any

   lawyers that wish to fight an improper blocking, which made First Amendment

   protection on social media unnecessarily murky and time-consuming to litigate.

   You gave the already overworked court system even more work in dealing with

   these matters, which increases the chance of cases being denied at the district

   court level out of efficiency. The ambiguity in the ruling will be exploited by

   nefarious actors. In this case, Plaintiff requests that you refine this standard to a

   much simpler precedent to protect your courts and the public.

      Additionally, Plaintiff requests that this court leverage its underused power to

   simplify the process of obtaining a preliminary injunction against clear violations of

   certain Supreme Court precedents. An expedited preliminary injunction should be

   able to be completed on a court-provided form that is no more than two pages in

   length, and should cost no more than $100.00 to file. Following submission of a

   properly completed preliminary injunction form, the Clerk of the court should make

   one phone call to the relevant organization and send one Certified letter to that

   organization instructing that organization to forward that letter to the appropriate

   person and asking them to come into compliance with Supreme Court precedent

   or declare one of several strict exemptions (i.e. falsified pleading, death threats,


                                            - 22 -
Case No. 1:24-cv-01215-MDB Document 1 filed 05/01/24 USDC Colorado pg 23 of 29




   current restraining order against the injunction filer, etc.). If the organization

   forwarded that letter to the appropriate person and that person fails to comply with

   Supreme Court precedent or declare one of the strict exemptions, then the filer of

   the preliminary injunction request obtains pre-approval for payment of court filing

   costs and attorney fees, and the impetus would fall to the injuncted person to

   argue that they should not have to pay. If there is any ambiguity as to whether the

   organization that received the letter properly submitted it to the injuncted person,

   pre-approval for court filing costs and attorney fees from that organization is pre-

   approved to the person filing the injunction request and that organization would

   have to prove that there is a legitimate basis for why they should not be liable. If

   the injuncted person temporarily complies, but reoffends, then the person that filed

   the first preliminary injunction should pay $50.00 and file a second simplified

   preliminary injunction form, and the process repeats. A third temporary compliance

   followed by a reoffence results in punitive damages being pre-approved for the

   person that filed the injunction in addition to pre-approval for court filing/attorneys

   fees from the Defendant.

      Such a simplistic schema maximizes efficiency and due process for all parties

   and the courts, increases compliance with Supreme Court precedents, and asserts

   that the courts will not be abused by other branches of the government or private

   entities. While it is possible that those other two branches of government retaliate

   against the judicial branch (i.e. 'court-packing', 'inspector general', etc.), should

   that happen all of the current Justices (regardless of political alignment) should be

   on board with sanctions against nefarious actors trying to improperly influence the

   court for political agendas (suspension of legislative/presidential immunity,


                                             - 23 -
Case No. 1:24-cv-01215-MDB Document 1 filed 05/01/24 USDC Colorado pg 24 of 29




   allowing punitive damages against the government, dismissal of obvious retaliatory

   government litigation, decrease government filing word limits, etc.).

      To summarize this subsection: Lindke v. Freed should be refined into a simpler

   precedent not requiring complex inquiry. Violations of certain Supreme Court

   precedents should not require hundreds of hours of labor and litigation to deal with

   obvious non-compliance with established Supreme Court doctrines like this. The

   extreme deference that the judicial branch has for the executive and legislative

   branches is not reciprocal, and the system of checks and balances is failing

   because the courts have not asserted themselves as an equal branch of

   government in recent years. The judicial branch needs to leverage their power and

   establish some mechanism that asserts that the courts will not be abused by either

   of the other branches of government-to include state-level branches of

   government-which maximizes efficiency for all parties involved.

                                         CLAIMS

                         FIRST CLAIM FOR RELIEF
       VIOLATION OF THE FIRST AMENDMENT OF THE U.S. CONSTITUTION

      37. Mrs. Epps (@elisabethepps) blocked Mr. Freeman (@theantigrifter) from

   commenting on her personal/campaign account on X (formerly known as Twitter),

   which proximately caused the violation (deprivation) of his First Amendment right

   to Freedom of Speech (and arguably peaceful assembly when considering others

   blocked that Plaintiff cannot represent) applicable to states through the Fourteenth

   Amendment.

      38. The account that Mr. Freeman is blocked from commenting on is an

   account that frequently discusses official state business to such a degree that the

   First Amendment should be held applicable to the entirety of the account.

                                           - 24 -
Case No. 1:24-cv-01215-MDB Document 1 filed 05/01/24 USDC Colorado pg 25 of 29




      39. The post from Rep. Epps resulting in Mr. Freeman being blocked was a

   post pertaining to official government business, to include a bill that was before the

   state General Assembly and a discussion about the U.S. Constitution and Rep.

   Epps' alleged oath to support it.

      40. Mr. Freeman made numerous attempts to resolve this prior to filing this

   Complaint that Mrs. Epps did not use to rectify this issue without necessitating

   legal action.

      41. Courts rely on assistance from the executive branch to enforce court

   decisions as the courts do not have any direct enforcement arm of their own.

   Accordingly, Mr. Freeman contacted the Colorado Attorney General requesting

   assistance in this matter to avoid litigation and that assistance was not supplied by

   Mr. Weiser.

      42. As a direct and proximate cause and consequence of Mrs. Epps and Mr.

   Weiser's failure to adhere to their responsibilities to uphold the Constitution,

   Plaintiff suffered injuries, damages, and losses to be proven at trial.

      43. The unlawful violation of the Plaintiff's First Amendment right from the

   Defendants was intentional.

      44. The unlawful actions and non-actions from the Defendants was done with

   malice or with reckless indifference to the Plaintiff's constitutional rights.

                       SECOND CLAIM FOR RELIEF
    INJUNCTION AGAINST COLORADO STATE REPRESENTATIVE ELISABETH
                                EPPS

       45. Mrs. Epps (@elisabethepps) a state representative for the House of

   Representatives in the General Assembly of Colorado blocked Mr. Freeman

   (@theantigrifter) from commenting on her personal/campaign account on X


                                             - 25 -
Case No. 1:24-cv-01215-MDB Document 1 filed 05/01/24 USDC Colorado pg 26 of 29




   (formerly known as Twitter), which proximately caused the violation (deprivation) of

   his First Amendment right to Freedom of Speech (and arguably peaceful assembly

   when considering others blocked that Plaintiff cannot represent) applicable to

   states through the Fourteenth Amendment.

      46. The account that Mr. Freeman is blocked from commenting on is an

   account that frequently discusses official state business to such a degree that the

   First Amendment should be held as applicable to the entirety of the account.

      47. The post from Mrs. Epps resulting in Mr. Freeman being blocked was a

   post pertaining to official government business (HB24-1292), to include a bill that

   was before the state House and a discussion about the U.S. Constitution and Rep.

   Epps' alleged oath of office to uphold it.

      48. The Plaintiff made numerous attempts to resolve this prior to filing this

   Complaint that Mrs. Epps did not use to rectify this issue in a timely manner.

      49. Due to the aforementioned factors, based on recently established Supreme

   Court precedent, the Plaintiff is likely to prevail on the merits of this case.

      50. Supreme Court precedent establishes that "The loss of First Amendment

   freedoms, for even minimal periods of time, unquestionably constitutes irreparable

   injury." Elrod v. Bums, 427 U.S. 347 (1976) referencing New York Times Co. v.

   United States, 403 U.S. 713 (1971).

      51. The harm that Mr. Freeman is suffering as a result of this greatly exceeds

   the less than two minutes it would take for Mrs. Epps to unblock him.

      52. Unlike Mrs. Epps, Mr. Freeman is an ardent proponent of the Constitution

   and the rights it provides to all Americans. His dialogue primarily focuses on the

   Constitution and political affairs and thus the public interest will benefit from an


                                             - 26 -
Case No. 1:24-cv-01215-MDB Document 1 filed 05/01/24 USDC Colorado pg 27 of 29




   injunction.

      53. For these reasons, a preliminary injunction is appropriate.

                        THIRD CLAIM FOR RELIEF
          VIOLATION OF ALLEGED OATH OF OFFICE RESULTING IN
    DISQUALIFICATION OF COLORADO STATE REPRESENTATIVE ELISABETH
                   EPPS FROM HOLDING PUBLIC OFFICE

      54. In accordance with Article V, Sec. 2, Para. 2 of the Colorado Constitution,

   Rep. Epps is required to take an oath of office wherein she swore to uphold the

   Colorado Constitution and the U.S. Constitution.

      55. In a statement rendered to Mr. Freeman, Mrs. Epps hints at the possibility

   that she never took that oath (" ... oaths you didn't watch").

      56. Further, Mrs. Epps disparaged the Constitution by referring to it as a "piece

   of parchment". When taken in full context, a reasonable person would come to the

   conclusion that her comments are disrespectful to a document that she allegedly

   swore an oath to uphold.

      57. Mrs. Epps also disparaged her alleged oath of office by declaring that she

   "didn't make a non-negotiable death pact" with the Constitution. When taken in full

   context, a reasonable person would come to the conclusion that her comment is

   disparaging to her alleged oath of office without sufficient justification.

      58. Additionally, Mrs. Epps made known that she does not consider herself to

   be a person with "unflinching fealty" to the U.S. Constitution. When taken in full

   context, a reasonable person would come to the conclusion that her comments are

   indicative of a person that is not loyal to the Constitution.

      59. If Rep. Epps did take an oath prior to taking office, The aforementioned

   statements taken together constitute an opposition (i.e. 'rebellion') to the

   Constitution, resulting in § 3 of the Fourteenth Amendment being applicable.

                                             - 27 -
Case No. 1:24-cv-01215-MDB Document 1 filed 05/01/24 USDC Colorado pg 28 of 29




      60. The Constitution (to include the bill of rights) is the Supreme Law of the

   Land and legislators that concede that they possess no deference to it are a threat

   to the rights of Americans.

      61. If Mrs. Epps did not take an oath, then she is holding office in violation of

   Article V, Sec. 2, Para. 2 of the Colorado Constitution.

      62. Mrs. Epps' statements pertaining to the U.S. Constitution and her alleged

   oath of office were intentional and made with malice or reckless indifference

   toward the U.S. Constitution and in violation of her alleged oath to support it. This

   malice or reckless indifference toward the Constitution resulted in the

   aforementioned violation (deprivation) of Mr. Freeman's First Amendment rights.

      63. For these reasons, Rep. Epps is not qualified to hold federal office or any

   state office requiring allegiance to the U.S. Constitution.

                        RELIEF REQUESTED FROM THE COURT

      WHEREFORE, Plaintiff respectfully requests that the Court enter judgment in

   his favor and against the Defendants, and award the following relief, to the fullest

   extent allowed by law:

      1) A Declaratory Judgement finding that the actions of Elisabeth Epps and the

   negligence of Mr. Philip Weiser resulted in a violation of Mr. Freeman's First

   Amendment rights under the U.S. Constitution.

      2) An Injunctive Order to Elisabeth Epps directing her to unblock Mr. Freeman

   (@TheAntiGrifter) from her personal/campaign X (formerly known as Twitter)

   account (@elisabethepps).

      3) A Writ of Quo Warranto finding that Rep. Epps is ineligible to hold any

   government position that requires allegiance to the U.S. Constitution.


                                            - 28 -
Case No. 1:24-cv-01215-MDB Document 1 filed 05/01/24 USDC Colorado pg 29 of 29




      4) An award of economic damages in the form of reimbursement of all Court

   Filing Fees (to include any appeals), reimbursement for USPS Priority Mail Flat

   Rate Envelope in the amount of $9.85 to mail the complaint to the Court,

   reimbursement for inevitable USPS Priority Mail Flat Rate shipping ($9.85) with

   Certified Mail ($4.40) and Electronic Return Receipt ($2.32) to mail the summons

   and complaint both Defendants, as well as reimbursement for any other mail costs

   that prove necessary to achieve justice in this case. The total amount for this

   reimbursement currently stands at $447.99.

      5) An award for Plain and Suffering in the amount of $14.42 (Colorado's

   minimum wage) per hour of labor it takes to fight this case. Producing this

   Complaint took approximately 25 hours resulting in a current cost of $360.50 as of

   the filing of this Complaint.

      6) An additional award for Pain and Suffering for an additional amount for

   mental stress to be determined by the Jury.

      7) An award of punitive damages to be determined by the Jury.

      8) An award of pre and post judgement interest, as allowed.

      9) Such other and further relief this Court deems justified as Justice allows.

        PLAINTIFF DEMANDS A JURY TRIAL ON ALL ISSUES SO TRIABLE.

        Dated this 30th day of April, 2024.

                                              Respectfully submitted,



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                                           - 29 -
